&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="89f7f69588"&gt;&lt;span data-sentence-id="bc1d3e2dae" quote="false" data-paragraph-id="89f7f69588"&gt;In re the Parental Responsibilities Concerning B.H., a Child,&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="d0374cfc02"&gt;&lt;span data-sentence-id="65fd4801b5" quote="false" data-paragraph-id="d0374cfc02"&gt; Benjamin E. Hastings, Petitioner and Concerning &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="b49ffac4e6" quote="false" data-paragraph-id="d0374cfc02"&gt; &lt;br /&gt; Karen L. Moore, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="50625537f4"&gt;No. 21SC504&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="b594c41337"&gt;October 25, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="b7b467eaea"&gt;&lt;span data-sentence-id="7b57376c5c" quote="false" data-paragraph-id="b7b467eaea"&gt; Court of Appeals Case No. 21CA568 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;